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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

John Bastiste Jr.,                    )
                                      )       12-CV-7863
                Plaintiff,            )
                                      )       Honorable Judge
        vs.                           )       Robert M. Dow
                                      )
Officer Clark, et al.,                )
                                      )
                Defendants.           )

                                STIPULATION OF DISMISSAL

        IT IS HEREBY stipulated and agreed by and between the parties the above captioned cause
of action be dismissed with prejudice and without costs as to all parties pursuant to Federal Rule of
Civil Procedure 41(a)(1)(A)(ii), because the matter has been settled to the mutual satisfaction of
the parties.

        7/16/15_______                /s/ George L. Grumley
        Date                          George L. Grumley
                                      Three First National Plaza
                                      70 West Madison Street Suite 2100
                                      Chicago, IL 60602-4253
                                      Attorney for Plaintiff

        7/16/15                       /s/ Conor T. Fleming
        Date                          Conor T. Fleming
                                      Assistant State’s Attorney
                                      Cook County State’s Attorney’s Office
                                      500 Richard J. Daley Ct.
                                      Chicago, IL 60602
                                      Attorney for Defendants
